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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                         8:17CR286

       vs.
                                                                            ORDER
ALEJANDRO VALDIVIA-ORTIZ,

                       Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND PRETRIAL
MOTIONS DEADLINE [132]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 30-day extension.          Pretrial Motions shall be filed by
February 14, 2018.


       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND PRETRIAL MOTIONS DEADLINE [132] is
granted. Pretrial motions shall be filed on or before February 14, 2018.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between January 15, 2018, and February 14, 2018, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       Dated this 16th day of January, 2018.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
